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                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


 MICHAEL P. ALLEN,
                                                   CIVIL COMPLAINT
              Plaintiff,

 v.                                                CASE NO. 1:21-cv-01477

 GREAT AMERICAN FINANCE
 HOLDINGS, LLC,                                    DEMAND FOR JURY TRIAL

              Defendant.


                                           COMPLAINT

         NOW COMES Plaintiff MICHAEL P. ALLEN (“Plaintiff”), by and through his attorneys,

Consumer Law Partners, LLC, complaining as to the conduct of GREAT AMERICAN FINANCE

HOLDINGS, LLC (“Defendant”), as follows:


                                      NATURE OF THE ACTION

      1. Plaintiff brings this action for damages pursuant to the Fair Credit Reporting Act (“FCRA”)

pursuant to 15 U.S.C. §1681 et seq. for Defendant’s unlawful conduct.

                                     JURISDICTION AND VENUE

      2. This action arises under and is brought pursuant to the FCRA. Subject matter jurisdiction

is conferred upon this Court by 28 U.S.C. §§1331 and 1337, as the action arises under the laws of

the United States.

      3. Venue is proper in this Court pursuant to 28 U.S.C. §1391 as Defendant conducts business

in the Northern District of Illinois and a substantial portion the events or omissions giving rise to

the claims occurred within the Northern District of Illinois.



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                                                PARTIES

    4. Plaintiff is a disabled consumer over 18-years-of-age residing in Lake County, Illinois,

which lies within the Northern District of Illinois.

    5. Defendant is engaged in the business of offering credit services and collecting or

attempting to collect, directly or indirectly, debts owed or due using the mail, telephone, and credit

reporting, from consumers across the country, including consumers located in the state of Illinois.

Defendant is a limited liability company organized under the laws of the state of Florida, with its

principal place of business located at 200 South Michigan Ave., Suite 450, Chicago, Illinois 60604.

Defendant’s registered agent in Illinois is Corporate Creations Network Inc., located at 350 South

Northwest Highway, #300, Park Ridge, Illinois 60068.

    6. Defendant acted through its agents, employees, officers, members, directors, heirs,

successors, assigns, principals, trustees, sureties, subrogees, representatives and insurers at all

times relevant to the instant action.

                               FACTS SUPPORTING CAUSES OF ACTION

    7.     In early 2021, Plaintiff became the victim of identity theft, when an unknown individual

began applying for, and opening, various accounts using Plaintiff’s personal information without

his knowledge.

    8.     One of these unauthorized transactions was approved by Defendant.

    9.     Upon realizing that he was the victim of identity theft, Plaintiff immediately filed a police

report with the Zion Police Department (Case Number 21-14691).

    10. Fearing that these unauthorized applications would negatively impact his credit, Plaintiff

also accessed his consumer credit reports in an effort to proactively mitigate any damage to his

credit.



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Plaintiff. Defendant’s misrepresentation and false certification resulted in the CRAs releasing

Plaintiff’s highly confidential and sensitive personal information to Defendant.

    18. Plaintiff had no account or business transactions with Defendant at the time this request

was made, as he was not liable for, nor did he apply, for the subject account.

    19. Defendant accessed Plaintiff’s consumer report without the consent or knowledge of

Plaintiff.

    20. Defendant both negligently and willfully violated the FCRA by impermissibly obtaining

Plaintiff’s consumer reports.

    21. Defendant had no legitimate business need for Plaintiff’s consumer reports at the time that

it requested a copy of Plaintiff’s credit reports from the CRAs on February 22, 2021.

    22. After a reasonable time to conduct discovery, Plaintiff believes he can prove that all

actions taken by Defendant as described in this Complaint, supra, were taken willfully and/or with

knowledge that its actions were taken in violation of the law.

    23. Defendant’s conduct has caused Plaintiff damages in the form of invasion of privacy,

emotional distress, mental anguish, loss of sleep, and decreased credit scores.

    24. Due to the conduct of Defendant, Plaintiff was forced to retain counsel and his damages

include reasonable attorney’s fees and costs incurred in prosecuting this claim.

    25. Due to Defendant’s conduct, Plaintiff is entitled to punitive damages, statutory damages,

and all other appropriate measures to punish and deter similar future conduct by Defendant.

    26. As a result of the conduct, actions, and inactions of Defendant, Plaintiff has suffered

various types of damages as set forth herein, including specifically, invasion of privacy, expenses

and time incurred curing and remediating fraudulent account activity, time and expenses

reasonably incurred to prevent future fraudulent activity, credit monitoring, constant vigilance in



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detecting fraudulent account activity, expenses and time reasonably incurred to prevent

future identity theft related losses, out-of-pocket expenses, the loss of credit opportunities, injury

to reputation and credit rating, the loss of ability to purchase and benefit from a credit line, time

and money expended meeting with his attorneys, monitoring his credit file, mental and emotional

pain and suffering.

                   COUNT I - VIOLATIONS OF THE FAIR CREDIT REPORTING ACT

   27. Plaintiff restates and reallages paragraphs 1 through 26 as though fully set forth herein.

   28. Plaintiff is a “consumer” as defined by 15 U.S.C. §§1681a(c) and (b).

   29. Defendant is a “person” as defined by 15 U.S.C. §1681a(b).

   30. Defendant is a “furnisher of information” as defined by 15 U.S.C. §1681s-2 and a

“financial institution” as defined by 15 U.S.C. §1681a(t).

   31. At all times relevant, the above-referenced credit reports were “consumer reports” as that

term is defined by §1681a(d).

   32. The FCRA prohibits any person or entity from using or obtaining a consumer credit report

unless the user has a permissible purpose enumerated under the FCRA. See 15 U.S.C. §1681b(f).

   33. Defendant requested and received copies of Plaintiff’s consumer credit reports maintained

by the CRAs without Plaintiff’s consent, or for any permissible purpose, as Plaintiff never had a

relationship with Defendant.

   34. Defendant did not have a legitimate business need for Plaintiff’s credit report on February

22, 2021 under the FCRA.

   35. Defendant willfully violated §1681b(f) when it accessed Plaintiff’s credit reports without

any permissible purpose under the FCRA.




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   36. Even after Defendant was informed that it accessed Plaintiff’s credit report erroneously,

Defendant still willfully failed to remove the negative inquiry from Plaintiff’s credit report.

   37. Defendant’s violations have deprived the Plaintiff of the right to control his own personal

information, which is a major aspect of privacy that is protected by the FCRA.

   38. As pled in paragraphs 22 through 26, Plaintiff has been harmed and suffered damages as a

result of Defendant’s illegal actions.

   WHEREFORE, Plaintiff, MICHAEL P. ALLEN, respectfully requests that this Honorable

Court enter judgment his favor as follows:

   a. Declare that the practices complained of herein are unlawful and violate the
       aforementioned statute;
   b. Award Plaintiff actual damages, in an amount to be determined at trial, for each of the
       underlying FCRA violations;
   c. Award Plaintiff statutory damages of $1,000.00 for each violation of the FCRA, pursuant
       to 15 U.S.C. §1681n;
   d. Award Plaintiff punitive damages, in an amount to be determined at trial, for the underlying
       FCRA violations, pursuant to 15 U.S.C. §1681n and 15 U.S.C. §1681o;
   e. Award Plaintiff costs and reasonable attorney fees as provided under 15 U.S.C. §1681n
       and 15 U.S.C. §1681o; and
   f. Award any other relief as this Honorable Court deems just and appropriate.

DATED this 17th day of March, 2021.                   Respectfully Submitted,

                                                       /s/ Taxiarchis Hatzidimitriadis
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